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 1
                                            THE HONORABLE RICHARDO S. MARTINEZ
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
     UNITED STATES OF AMERICA,                   )
 8                                               )       No. CR05-0391RSM
                      Plaintiff,                 )
 9                                               )               ORDER
                    vs.                          )       ALLOWING WITHDRAWAL AND
10                                               )       SUBSTITUTION OF ATTORNEY
     CARLOS MIGUEL WATSON,                       )
11                                               )
                      Defendant.                 )
12                                                   )
13                  THIS MATTER having come on before the above-entitled Court upon the
14 motion of the defendant, Carlos M. Watson, for an order allowing Zenon P. Olbertz to

15 withdraw as attorney of record for the defendant, and further allowing substitution of

16 attorney, James S. Burnell; and the Court being in all things fully advised; NOW

17 THEREFORE, It Is Hereby

18                  ORDERED that Zenon P. Olbertz is hereby allowed to withdraw as

19 attorney for the above-named defendant. It is further

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     PROPOSED ORDER ALLOWING                                               LAW OFFICE OF
                                                                  ZENON PETER OLBERTZ
     WITHDRAWAL AND SUBSTITUTION OF                            1008 SOUTH YAKIMA AVENUE, SUITE 302
     ATTORNEY - 1                                                   TACOMA, WASHINGTON 98405
                                                                           (253) 272-9967
     smh\w\watson.car\withdraw order
      Case 2:05-cr-00391-RSM           Document 661   Filed 08/09/06      Page 2 of 4




 1                  ORDERED that the attorney, James S. Burnell, is hereby allowed to
 2 substitute as attorney for the defendant.

 3                  DATED this 9th day of August, 2006.



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 6                                              James P. Donohue
                                                U.S. Magistrate Judge
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 9 Presented by:

10          /s/
                               .
11
   Zenon P. Olbertz
12 Withdrawing Attorney for Defendant
   Carlos M. Watson
13

14        /s/
                                       .
15 James S. Burnell
     Substituting Attorney for Defendant
16 Carlos M. Watson

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     PROPOSED ORDER ALLOWING                                             LAW OFFICE OF
                                                                ZENON PETER OLBERTZ
     WITHDRAWAL AND SUBSTITUTION OF                          1008 SOUTH YAKIMA AVENUE, SUITE 302
     ATTORNEY - 2                                                 TACOMA, WASHINGTON 98405
                                                                         (253) 272-9967
     smh\w\watson.car\withdraw order
      Case 2:05-cr-00391-RSM           Document 661         Filed 08/09/06        Page 3 of 4




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                                       CERTIFICATE OF SERVICE
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                    I hereby certify that on August 3rd, 2006, I electronically filed the foregoing
 5
     Order Allowing Withdrawal and Substitution of Attorney with the Clerk of the Court using the
 6
     CM/ECF system which will send notification of such filing to the attorneys of record for the co-
 7
     defendants herein, and to the following attorney of record for the plaintiff:
 8

 9 Doug B. Whalley
   Ronald J. Friedman
10 Richard Cohen
   Assistant U.S. Attorneys
11 700 Stewart Street, Suite 5220
   Seattle, WA 98101-1271
12

13          I hereby certify that on August 3rd, 2006, I mailed the foregoing Order Allowing

14 Withdrawal and Substitution of Attorney to the following:

15 James S. Burnell
   Attorney at Law
16 Smith Tower
   506 2nd Avenue, Suite 3205
17
   Seattle, WA 98104
18
   Carlos M. Watson
19 Reg. #35762-086
   FDC at SeaTac
20 P.O. Box 13900
   Seattle, WA 98198
21

22                  DATED this 3rd day of August, 2006.

23                                                                         /s/
                                                                                                     .
24

25
     PROPOSED ORDER ALLOWING                                                     LAW OFFICE OF
                                                                       ZENON PETER OLBERTZ
     WITHDRAWAL AND SUBSTITUTION OF                                 1008 SOUTH YAKIMA AVENUE, SUITE 302
     ATTORNEY - 3                                                        TACOMA, WASHINGTON 98405
                                                                                (253) 272-9967
     smh\w\watson.car\withdraw order
     Case 2:05-cr-00391-RSM            Document 661   Filed 08/09/06     Page 4 of 4




 1                                                    Sarah M. Heckman
                                                      Legal Assistant
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     PROPOSED ORDER ALLOWING                                            LAW OFFICE OF
                                                               ZENON PETER OLBERTZ
     WITHDRAWAL AND SUBSTITUTION OF                         1008 SOUTH YAKIMA AVENUE, SUITE 302
     ATTORNEY - 4                                                TACOMA, WASHINGTON 98405
                                                                        (253) 272-9967
     smh\w\watson.car\withdraw order
